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                                                                                         December 8, 2023

           BY ECF

           Hon. Nusrat J. Choudhury
           100 Federal Plaza
           Central Islip, NY 11722

                    Re:         Clarke et al. v. ALAA (2:23-cv-08869)
                                Response to Plaintiff Diane Clarke Smith’s Letter of December 7, 2023

           Dear Judge Choudhury:

                  We write on behalf of Defendants in response to the letter submitted by Plaintiff Diane
           Clarke Smith on December 7, 2023 concerning Defendants’ pending Motion to Dissolve the
           Temporary Restraining Order (“Motion”).

                  First, we recognize and respect Plaintiffs’ need for representation in this matter. Ms.
           Clarke Smith indicated Plaintiffs would have counsel within “no more than one week.”1 The
           Court must balance Plaintiffs’ need for representation against Defendants’ right to prompt
           consideration of the Motion (as reflected in the unusual 2-day notice period set forth in FRCP
           65(b)(4)). Defendants’ constitutional rights are infringed every day the TRO is in effect. The
           Court should expedite consideration of the Motion. Given Ms. Clarke Smith’s assurance of
           obtaining counsel soon, Defendants recommend a return date no later than December 14, 2023.

                   Contrary to Ms. Clarke Smith’s assertion, the Motion is in no way defective. A Notice of
           Motion is not rendered defective by virtue of including the wrong address in the body of the
           notice, especially where, as here, Plaintiffs are aware this Court sits in Central Islip and


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             While Plaintiffs have the right to select whatever counsel they desire, or change counsel, we
           note that they already have counsel representing them in this case. Plaintiffs’ attorneys have been
           notified of the removal and have received copies of all of Defendants’ filings. In fact, Vesselin
           Mitev, Plaintiff Clarke Smith’s individual counsel, is already admitted to this Court. David A.
           Smith, who represents all four Plaintiffs, has been alerted through docket entry of the opportunity
           to appear pro hac vice.



   Advancing the rights of
   everyone who works        * Admitted in NY and NJ.   
                                                            Admitted in NY, NJ and CA.   
                                                                                             Admitted in NY and CA.    Admitted in NY and MI.
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      Defendants filed the Motion to the correct docket. Defendants’ request for oral argument
      complies with Your Honor’s Individual Rule 5.7 (“A party may request oral argument on a
      motion by writing ‘Oral Argument Requested’ on the Notice of Motion”).

               Ms. Clarke Smith inaccurately describes the events leading up to the state-court TRO. As
      set forth in the Declaration of Lisa Ohta, submitted with the Motion, Judge Muraca of the New
      York Supreme Court, Nassau County, held a brief conference call with the parties prior to
      granting the TRO. There was no “hearing” or “oral argument” on the day the TRO issued. In
      fact, Plaintiffs had not served or otherwise sent Defendants their moving papers until Judge
      Muraca directed them to e-mail the papers to Defendants’ counsel on that conference call. The
      text of the order itself establishes that Judge Muraca based the TRO exclusively on “the specific
      allegations set forth in the Verified Complaint,” and not on any arguments by the parties.

             In any event, Defendants may move to dissolve the TRO whether the state court issued
      the order with notice or without. Federal rules apply following removal, including limitations on
      the duration of TROs. As Ms. Clarke Smith wrote, Judge Muraca extended the TRO indefinitely,
      pending a decision. Indefinite TROs are forbidden in federal court. The TRO will expire by
      operation of law on December 15, 2023, fourteen days after removal. However, Defendants are
      permitted to move to dissolve the TRO before that date, and the Court is obligated to decide the
      Motion as promptly as possible.

               Finally, concerning the anticipated motion to remand referenced in Ms. Clarke Smith’s
      letter, Defendants respectfully request that the Court consolidate proceedings on any such motion
      with the proceedings on the Motion to Dissolve, or postpone the remand issue until after the
      Motion to Dissolve is decided. Ms. Clarke Smith indicates that Plaintiffs will challenge removal
      based on subject-matter jurisdiction. This is a purely legal issue decidable on the face of the
      Complaint.2 It should not delay resolution of the TRO question.



                                                                  Respectfully submitted,



                                                                  Aleksandr L. Felstiner




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        Removal was proper and Plaintiffs have no basis for remand. Federal courts have original
      jurisdiction over the federal labor law claim – breach of the duty of fair representation – that
      Plaintiffs chose to bring in state court.
